Case No. 1:23-cv-00939-DDD-SKC Document 132 filed 01/09/24 USDC Colorado pg 1 of 7




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

    Case No. 1:23-cv-939-DDD-SKC

    BELLA HEALTH AND WELLNESS
    et al.,

            Plaintiffs,

       v.

    PHIL WEISER, in his official capacity as
    Attorney General of Colorado, et al.,

            Defendants.


                          STIPULATED PROTECTIVE ORDER


      Upon a showing of good cause in support of the entry of a protective order to

   protect the discovery and dissemination of confidential information or information

   which will improperly annoy, embarrass, or oppress any party, witness, or person

   providing discovery in this case, IT IS ORDERED:

      1. This Protective Order shall apply to all documents, materials, and information,

   including without limitation documents produced, answers to interrogatories,

   responses to requests for admission, deposition testimony, and other information

   disclosed pursuant to the disclosure or discovery duties created by the Federal Rules

   of Civil Procedure.

      2. As used in this Protective Order, “document” is defined as provided in Federal

   Rule of Civil Procedure 34(a). A draft or non-identical copy is a separate document

   within the meaning of this term.



                                            1
Case No. 1:23-cv-00939-DDD-SKC Document 132 filed 01/09/24 USDC Colorado pg 2 of 7




      3. A party may, in good faith and at any time, designate as CONFIDENTIAL and

   therefore subject to the protections and requirements of this Order, any document

   that the designating party reasonably believes contains confidential information,

   including personal or sensitive information not generally disclosed to the public.

   CONFIDENTIAL information and its contents, as well as copies, summaries, notes,

   memoranda, and computer databases relating thereto, shall be used solely by the

   receiving party for the purpose of litigating in the above-captioned litigation, shall be

   and remain confidential, and shall not be used for any purpose other than litigating

   in the above-captioned litigation.

      4. CONFIDENTIAL documents, materials, and/or information (collectively,

   “CONFIDENTIAL information”) shall not, without the consent of the party producing

   it or further Order of the Court, be disclosed, except that such information may be

   disclosed to:

         (a) attorneys actively working on this case;

         (b) persons regularly employed or associated with the attorneys actively

             working on the case whose assistance is required by said attorneys in the

             preparation for trial, at trial, or at other proceedings in this case;

         (c) the parties, including the designated representatives for the entity

             defendants;

         (d) expert witnesses and consultants retained in connection with this

             proceeding, to the extent such disclosure is necessary for preparation, trial

             or other proceedings in this case;




                                               2
Case No. 1:23-cv-00939-DDD-SKC Document 132 filed 01/09/24 USDC Colorado pg 3 of 7




          (e) the Court and its employees (“Court Personnel”);

          (f) stenographic reporters who are engaged in proceedings necessarily incident

             to the conduct of this action;

          (g) deponents, witnesses, or potential witnesses; and

          (h) other persons by written agreement of the parties.

      5. Prior to disclosing any CONFIDENTIAL information to any person listed

   above (other than counsel, persons employed by counsel, Court Personnel and

   stenographic reporters), counsel shall provide such person with a copy of this

   Protective Order and obtain from such person a written acknowledgment, attached

   hereto as Appendix A, stating that he or she has read this Protective Order and agrees

   to be bound by its provisions. All such acknowledgments shall be retained by counsel

   and shall be subject to in camera review by the Court if good cause for review is

   demonstrated by opposing counsel.

      6. Documents are designated as CONFIDENTIAL by placing or affixing on them

   (in a manner that will not interfere with their legibility) the following or other

   appropriate notice: “CONFIDENTIAL.” In the case of electronic documents produced

   in native format, such designation may be made by beginning the file name with

   “CONFIDENTIAL” and placing “CONFIDENTIAL” on a slipsheet accompanying the

   native file.

      7. Whenever       a    deposition    involves    the   disclosure     of    CONFIDENTIAL

   information,   the       deposition    or   portions   thereof   shall    be    designated   as

   CONFIDENTIAL and shall be subject to the provisions of this Protective Order. Such




                                                   3
Case No. 1:23-cv-00939-DDD-SKC Document 132 filed 01/09/24 USDC Colorado pg 4 of 7




   designation shall be made on the record during the deposition whenever possible, but

   a party may designate portions of depositions as CONFIDENTIAL after

   transcription, provided written notice of the designation is promptly given to all

   counsel of record within thirty (30) days after notice by the court reporter of the

   completion of the transcript.

      8.   A party may object to the designation of particular CONFIDENTIAL

   information by giving written notice to the party designating the disputed

   information. The written notice shall identify the information to which the objection

   is made. If the parties cannot resolve the objection within fourteen (14) days after the

   time the notice is received, it shall be the obligation of the party designating the

   information as CONFIDENTIAL to file an appropriate motion requesting that the

   Court determine whether the disputed information should be subject to the terms of

   this Protective Order. If such a motion is timely filed, the disputed information shall

   be treated as CONFIDENTIAL under the terms of this Protective Order until the

   Court rules on the motion. If the designating party fails to file such a motion within

   the prescribed time, the disputed information shall lose its designation as

   CONFIDENTIAL and shall not thereafter be treated as CONFIDENTIAL in

   accordance with this Protective Order. In connection with a motion filed under this

   provision, the party designating the information as CONFIDENTIAL shall bear the

   burden of establishing that good cause exists for the disputed information to be

   treated as CONFIDENTIAL.




                                              4
Case No. 1:23-cv-00939-DDD-SKC Document 132 filed 01/09/24 USDC Colorado pg 5 of 7




      9. The failure of a party to designate information or documents as

   CONFIDENTIAL in accordance with this Order, and the failure to object to such a

   designation, is not a waiver of the right to do so and shall not preclude a party at a

   later time from subsequently designating (or objecting to the designation of) such

   information or documents as CONFIDENTIAL. The parties understand and

   acknowledge that a party’s failure to designate information or documents as

   CONFIDENTIAL relieves the other parties of any obligation of confidentiality until

   such a designation is made. Promptly after written notice to the receiving parties of

   any such subsequent designation by the producing party, which notice shall

   specifically identify the documents or information to be designated, the parties shall

   confer and agree upon a method to mark as CONFIDENTIAL any such subsequently

   designated documents. All documents containing any such subsequently designated

   information will be thereafter treated in accordance with this Order.

      10. At the conclusion of this case, unless other arrangements are agreed upon,

   each   document    and   all   copies   thereof   which   have   been   designated   as

   CONFIDENTIAL shall be returned to the party that designated it CONFIDENTIAL,

   or the parties may elect to destroy CONFIDENTIAL documents. Where the parties

   agree to destroy CONFIDENTIAL documents, the destroying party shall provide all

   parties with an affidavit confirming the destruction.

      11. The parties are entering into this protective order prior to any discovery

   requests being exchanged. The parties may move the Court to modify this protective

   order at any time or in response to discovery requests for good cause shown following




                                              5
Case No. 1:23-cv-00939-DDD-SKC Document 132 filed 01/09/24 USDC Colorado pg 6 of 7




   notice to all parties and an opportunity for them to be heard. The parties agree to

   meet and confer prior to requesting the Court to modify the order.

      IT IS SO ORDERED.

      Date: January 9, 2024.


                                                BY THE COURT:




                                                Hon. S. Kato Crews
                                                United States Magistrate Judge




                                            6
Case No. 1:23-cv-00939-DDD-SKC Document 132 filed 01/09/24 USDC Colorado pg 7 of 7




                                      APPENDIX A
                                      Certification

      I hereby certify my understanding that Confidential Information is being provided

   to me pursuant to the terms and restrictions of the Protective Order dated

   January ___, 2024 in Bella Health and Wellness et al. v. Weiser et al., Civil No. 1:23-

   cv-939-DDD-SKC (D. Colo.).

      I have been given a copy of that Order and have read it. I agree to be bound by the

   Order. I will not reveal the Confidential Information to anyone, except as allowed by

   the Order. I will maintain all such Confidential Information—including copies, notes,

   or other transcriptions made therefrom—in a secure manner to prevent unauthorized

   access to it. No later than thirty (30) days after the conclusion of this action, I will

   return the Confidential Information—including copies, notes or other transcriptions

   made therefrom—to the counsel who provided me with the Confidential Information.

   I hereby consent to the jurisdiction of the United States District Court for the District

   of Colorado for the purpose of enforcing the Protective Order.




   Name                                           Title




   Signature                                      Date




                                              7
